Case 2:17-cv-00123-UA-CM Document 1-1 Filed 02/28/17 Page 1 of 1 PagelD 13

JS 44 (Rev. LL/15)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court.

This form, approved by the Judicial Conference of the United States in September 1974. is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. fa) PLAINTIFFS ; DEFENDANTS
WILLIAM GONZELEZ-VEGA, on behalf of himself and all others BRIGHTVIEW LANDSCAPES LLC
similarly situated,
(b) County of Residence of First Listed Plaintiff | Sarasota _ County of Residence of First Listed Defendant _ Port Charlotte
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

D iQ mas (Lirm Name, Address, and Telephone Number) Attomeys (/f Known)

NNA V.

MITH, Wenzel Fenton Cabassa, 1110 N. Florida Ave., Suite
300, Tampa, FL 33602; (813) 224-0431

 

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1 US. Government % 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Government Not a Party) Citizen of This State mI 1 Incorporated er Principal Place ao4 &4
of Business In This State
O 2° US. Government O 4 Diversity Citizen of Another State A 2 2 Incorporated and Principal Place O5 08
Defendant (indicate Citizenship of Parties in tem Il) of Business In Another State
Citizen or Subject of a 03 © 3. Foreign Nation 46 16
Foreign Country

 

 

IV. NA

      

  

 

TURE OF SUIT (Ptace an “x” in One Box Only)

 
   
 
 

 

    

   
 

       

 
  

 

    

    
      

 
      

        
     
 
      

 

 

 

 

ZONTR EITURE/PENALTY OTHER STATUTE
0 110 Insurance PERSONAL INJURY PERSONAL INJURY © 625 Drug Related Seizure © 422 Appeal 28 USC 158 1 375 False Claims Act
1 120 Marine 0 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 1 376 Qui Tam (31 USC
0 130 Miller Act © 315 Airplane Product Product Liability © 690 Other 28 USC 157 372%a))
© 140 Negotiable Instrument Liability (7 367 Health Care/ (1 400 State Reapportionment
1 150 Recovery of Overpayment | (1 320 Assault, Libel & Pharmaceutical — PROPERTY RIGHTS | 1 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights © 430 Banks and Banking
151 Medicare Act © 330 Federal Employers’ Product Liability 1 830 Patent O 450 Commerce
1 152 Recovery of Defaulted Liability (1 368 Asbestos Personal 1 840 Trademark 1 460 Deportation
Student Loans C1 340 Marine Injury Product 1 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability pe SEABOR 2 4 URITY Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY |? 710 Fair Labor Standards CO 861 HIA (1395ff) O 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle O 370 Other Fraud Act C7 862 Black Lung (923) O 490 Cable/Sat TV
OF 160 Stockholders’ Suits © 355 Motor Vehicle O 371 Truth in Lending © 720 Labor/Management G 863 DIWC/DIWW (405(g)) | O 850 Securities/Commodities’
190 Other Contract Product Liability (1 380 Other Personal Relations @ 864 SSID Title XVI Exchange
1 195 Contract Product Liability | 360 Other Personal Property Damage 0 740 Railway Labor Act G1 865 RSI (405(g)) J 890 Other Statutory Actions
7 196 Franchise Injury (1 385 Property Damage 751 Family and Medical © 891 Agricultural Acts
© 362 Personal Injury - Product Liability Leave Act @ 893 Environmental Matters
Medical Malpractice © 790 Other Labor Litigation © 895 Freedom of Information
Se i 4 EL RIG! : $ {0 791 Employee Retirement ose AL TAX SUITS | Act
© 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: Income Security Act © 870 Taxes (U.S. Plaintiff 896 Arbitration
6 220 Foreclosure 441 Voting O 463 Alien Detainee or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectment 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
1 245 Tort Product Liability Accommodations O 530 General 950 Constitutionality of
290 All Other Real Property C1 445 Amer. w/Disabilities -] 535 Death Penalty ee é State Statutes
Employment Other: C1 462 Naturalization Application
446 Amer. w/Disabilities -] 540 Mandamus & Other | 465 Other Immigration
Other 0 550 Civil Rights Actions
© 448 Education O 555 Pnson Condition
QO 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Ptace an “X" in One Box Only)
mt Original 2 Removed from O 3° Remanded from 4 Reinstated or 5 Transferred from © 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation

(specify)

 

VI. CAUSE OF ACTION

VII. REQUESTED IN
COMPLAINT:

Cite the y 1 Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

FLSA 29 U.S.C. Section 201 et: seq.

Brief description of cause: : . . : .
Action for damages for unpaid wages and violations under Family ard Medical Leave Act

(4 CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
UNDER RULE 23, F.R.Cv.P. JURYDEMAND: {Yes No

 

VII RELATED CASE(S)

IF ANY

DATE
02/20/2017

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE

(See instructions):

JUDGE . __ DOCKET NUMBER
SIGNATURE

 
 

MAG, JUDGE
